              Case 3:25-cr-00215-RK
4/3/25, 1:24 PM                                Document 33-3
                                                          ORGIT Filed   04/04/25
                                                                Mail - Dental AppointmentsPage 1 of 1 PageID: 172



                                                                                                  Daniel Dadoun <daniel@orgit.ai>



  Dental Appointments
  Daniel Dadoun <daniel@orgit.ai>                                                                      Sun, Jan 19, 2025 at 10:26 AM
  To: NYEPTdb_EM UNIT <emunit@nyept.uscourts.gov>

    Hi my 930 was moved from 930 to 12 30 pm I will be done close to 130 pm 2 pm and will be back using public
    transportation I will arrive close to 4 pm home

    Thank you,
    -Daniel dadoun
    [Quoted text hidden]




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